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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

JOHN TYLER MCKINNEY, JR.,

                      Petitioner,                           Case No. 07-cr-20526

v                                                           Honorable Thomas L. Ludington

UNITED STATES OF AMERICA,

                      Respondent.

__________________________________________/

   ORDER OVERRULING OBJECTIONS, ADOPTING MAGISTRATE JUDGE’S
 REPORT AND RECOMMENDATION, DENYING MOTION TO VACATE, DENYING
 CERTIFICATE OF APPEALABILITY, DENYING LEAVE TO PROCEED IN FORMA
 PAUPERIS ON APPEAL, DENYING MOTION PURSUANT TO RULE 15(C)(2), AND
                  DENYING MOTION FOR DISCOVERY

       Petitioner John Tyler McKinney, Jr., currently confined at Elkton Federal Correctional

Institution in Lisbon, Ohio, pleaded guilty to distribution of 5 grams or more of a substance

containing cocaine base, 21 U.S.C. § 841(a)(1). He was sentenced to 120 months’ imprisonment

on September 10, 2009, and the Sixth Circuit affirmed his conviction on March 22, 2010. More

than twenty-one months later, McKinney filed his motion to vacate his sentence under 28 U.S.C.

§ 2255. Mot. Vacate, ECF No. 109.

       The Magistrate Judge issued a report on June 28, 2012, recommending that McKinney’s

motion to vacate be denied as untimely. Rep. & Rec., ECF No. 132. McKinney filed objections,

and this Court requested supplemental briefing on the issue of whether a Magistrate Judge may

sua sponte raise the issue of untimeliness. Because a court may raise the issue of untimeliness if

the respondent has mistakenly failed to raise the issue, the Court will adopt the Magistrate

Judge’s recommendation.
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                                                 I

       A district court reviews any objections to the report and recommendation of a magistrate

judge on a dispositive motion de novo. 28 U.S.C. § 636; Fed. R. Civ. P. 72(b)(3). The failure by

either party to file specific objections constitutes a waiver of the right to appeal the magistrate’s

recommendations. Thomas v. Arn, 474 U.S. 140, 155 (1985). “The objections must be clear

enough to enable the district court to discern those issues that are dispositive and contentious.”

Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995). “The filing of vague, general, or conclusory

objections does not meet the requirement of specific objections and is tantamount to a complete

failure to object.” Cole v. Yukins, 7 F. App’x. 354, 356 (6th Cir. 2001) (citing Miller, 50 F.3d at

380). The Sixth Circuit has explained that this specificity requirement is necessary to conserve

judicial resources. Howard v. Secretary of Health and Human Services, 932 F.2d 505, 509 (6th

Cir. 1991) (if review of general objection is permitted, “[t]he functions of the district court are

effectively duplicated as both the magistrate and the district court perform identical tasks. This

duplication of time and effort wastes judicial resources rather than saving them, and runs

contrary to the purposes of the Magistrates Act.”).

       McKinney raises three objections to the Magistrate Judge’s report and recommendation:

(1) a court may not sua sponte raise the issue of timeliness; (2) the magistrate judge failed to

consider his claims on the merits; and (3) the magistrate judge issued a recommendation only on

the motion to vacate, rather than all of McKinney’s outstanding motions. For the reasons

detailed below, McKinney’s objections will be overruled, and the magistrate judge’s report will

be adopted.




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                                                         II

         In his first objection, McKinney contends that the Magistrate Judge erred by sua sponte

raising the issue of whether his petition was time-barred. McKinney notes that Respondent did

not raise a statute of limitations defense in its answer to his petition, and McKinney contends that

Respondent waived that defense.

                                                         A

         In his report and recommendation, the Magistrate Judge concluded that McKinney’s

motion to vacate was untimely:

         In the instant case, McKinney filed his motion to vacate sentence on January 3,
         2012. The Sixth Circuit’s opinion was issued on February 26, 2010 and the
         mandate was issued on March 22, 2010. There is no indication that McKinney
         petitioned for a writ of certiorari to the United States Supreme Court. Thus, in
         order to be timely, McKinney’s motion must have been filed by May 27, 2011, or
         May 30, 2011, i.e., one year and 69 days after the appeals court issued its mandate
         or one year and 90 days after the appeals court entered its judgment.

Rep. & Rec. 5. Accordingly, because McKinney did not file his motion to vacate his sentence

until January 3, 2012—about seven months after the deadline—the Magistrate Judge concluded

that McKinney’s motion to vacate was untimely.

         The Magistrate Judge also noted that McKinney was not entitled to equitable tolling.1 A

petitioner seeking equitable tolling of the statute of limitations has the burden of establishing two

element: “(1) that he has been pursuing his rights diligently, and (2) that some extraordinary

circumstance stood in his way.” Pace v. DiGuglielmo, 544 U.S. 408, 418-19 (2005). The

Magistrate Judge concluded that McKinney had not met this burden:



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  The Magistrate Judge believed that McKinney acknowledged that his motion to vacate was untimely: “In the
instant case, it is difficult to tell when that happened. McKinney did not date the motion [to vacate] and appeared to
recognize that the motion was untimely since he argued that he did not discover the exculpatory impeachment
evidence until November 2011 . . . McKinney argues that he exercised due diligence within the meaning of 28
U.S.C. § 2255(f)(4).” Rep. & Rec. 6.

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       Although McKinney contends that he was unaware of the impeachment evidence
       until November 2011, the opinion in [co-defendant] Stanley Brazil[’s] case was
       issued on August 30, 2010. United States v. Brazil, 395 Fed. Appx. 205, 210 (6th
       Cir. 2010). McKinney does not indicate how he became aware of his co-
       defendant’s appeal or why it took over one year after the opinion was issued for
       him to notice it. McKinney does not indicate that he tried to contact counsel to
       learn of any issues raised by co-defendants, including Stanley Brazil, nor does he
       allege that any obstacle prevented him from reviewing the appellate opinion in
       Brazil when it issued in August 2010.

Rep. & Rec. 6-7. Accordingly, the Magistrate Judge concluded that McKinney had not met his

burden to show entitlement to equitable tolling.

       In his objections, McKinney does not dispute that his motion to vacate was filed outside

the statute of limitations. Nor does he challenge the Magistrate Judge’s conclusion that he is not

entitled to equitable tolling. Instead, he contends that the Magistrate Judge should not have

considered the timeliness issue at all because Respondent did not raise the statute of limitations

as an affirmative defense. In addition to filing an objection, McKinney also filed a “Motion

Pursuant to Rule 15(c)(2)” in which he repeats his objection that a district court may not sua

sponte raise the issue of timeliness. See ECF No. 138.

                                                   B

       Contrary to McKinney’s objection, Supreme Court precedent “establishes that a court

may consider a statute of limitations or other threshold bar the state failed to raise in answering a

habeas petition.” Wood v. Milyard, 132 S. Ct. 1826, 1830 (2012). Moreover, courts are afforded

a certain amount of latitude to consider forfeited statute of limitations defenses because

“AEDPA’s statute of limitations, like the exhaustion doctrine, ‘implicat[es] values beyond the

concerns of the parties.’” Id. at 1828 (quoting Day v. McDonough, 547 U.S. 198, 205 (2006)).

However, a district court “is not at liberty . . . to bypass, override, or excuse a state’s deliberate

waiver of a limitations defense.” Id.; see also Day, 547 U.S. at 202 (2006).



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       Where the state’s apparent waiver merely results from a mistake, a federal court has the

discretion to correct the error and dismiss the petition as untimely. Day, 547 U.S. at 202. Here,

Respondent claimed that it mixed up the timelines for McKinney, Jr., with his father, John

McKinney, Sr.: “The government simply made an honest mistake by accidentally using the dates

from a co-defendant that had the same first, middle, and last name as the defendant in this case.”

Gov’t Supp. Br. 3, ECF No. 151. This inadvertent failure to raise a limitations defense does not

prove that the state “strategically withheld the defense or chose to relinquish it.” Day, 547 U.S.

at 211 (internal quotations omitted). Thus, there is no showing that respondent deliberately or

intelligently waived the statute of limitations defense. Accordingly, McKinney’s objection will

be overruled and his motion to relate back to the pleadings will be denied.

                                               III

       Alternatively, even if McKinney’s motion to vacate was considered on the merits, he still

would not be entitled to relief.    In the report and recommendation, the Magistrate Judge

evaluated each of McKinney’s claims on the merits as an alternative basis for denying relief. See

Rep. & Rec. 14 (“I therefore suggest that since McKinney chose to admit his guilt, any Brady

concerns subsided and cannot provide a ground for relief.”); at 16 (“I therefore suggest that

McKinney’s ‘ineffective assistance of counsel, violation of the Speedy Trial Act’ claim is

without merit and does not provide a ground for relief under § 2255.”); at 17 (“Therefore, I

suggest that McKinney was properly sentenced and that McKinney cannot show prejudice

stemming from the alleged failure to raise the issue. I therefore suggest that the § 2255 motion

be denied on this ground.”).

       McKinney objects to the Magistrate Judge’s recommendation, but does not provide

specifics:



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        Petitioner objects to the Magistrate Judges rulings on his 4 claims in his § 2255,
        motion of

        (1).   Ineffective Assistance of Counsel for failure to investigate,

        (2).   Brady Violation,

        (3).   Ineffective Assistance for failure to inform petitioner that pleading guilty
               would waive his Speedy Trial Right as well as his right to appeal to the
               court of appeals for the Speedy Trial violation.

        (4).   Actual Innocence of Enhancement.

        …

        The Magistrate Judge has not made a report and recommendation on the parties
        claims therefore, the court must reject this report and recommendation . . . .”

Obj. at 4.

        Here, McKinney has filed only a general, non-specific objection to the Magistrate

Judge’s recommendation that his motion to vacate be denied on the merits. “A general objection

to the entirety of the magistrate’s report has the same effects as would a failure to object.”

Howard, 932 F.2d at 508-09; Spencer v. Bouchard, 449 F.3d 721, 725 (6th Cir. 2006) (“Overly

general objections do not satisfy the objection requirement.”).         A failure to file specific

objections constitutes a waiver of any further right of appeal. United States v. Walters, 638 F.2d

947 (6th Cir. 1981).

        McKinney has not presented any specific objections to the Magistrate Judge’s

recommendation that his motion to vacate be denied on the merits. “Objections disputing the

correctness of the magistrate’s recommendation but failing to specify the findings . . . believed to

be in error are too general.” Spencer, 449 F.3d at 725 (quotation marks and alterations omitted).

And to the extent that McKinney claims that the Magistrate Judge has not made a

recommendation, this claim is patently contradicted by the Magistrate Judge’s ten-page analysis



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of the merits of McKinney’s claims. Rep. & Rec. 9-19. Accordingly, McKinney’s general

objection will be overruled.

                                                         IV

         In his final objection, McKinney claims that the Magistrate Judge erred by not deciding

his motion for discovery (ECF No. 115), motion to compel (ECF No. 117), and motion for

appointment of counsel (ECF No. 134): “The Magistrate Judge did not address these issues and

motion petitioner request the court refer the motion back to the Magistrate for adjudication on

the above motions.” Obj. 3.2

         McKinney is correct that the Magistrate Judge did not address those motions. This is

because the Court referred only McKinney’s motion to vacate to the Magistrate Judge. See

Order Referring Mot., ECF No. 11. But since the time that Magistrate Judge issued his report and

recommendation on McKinney’s motion to vacate, however, this Court has denied McKinney’s

motion to compel, see ECF No. 119, and his motion for appointment of counsel, see ECF No.

161.

         Therefore, the only remaining motion is McKinney’s motion for discovery.                             In the

motion, McKinney requests the “[p]roduction of all documents which are in the possession,

custody or control of:” (1) the United States Attorney for the Eastern District of Michigan, Bay

City Divisions; (2) statements of all government witnesses; (3) the statements of Willie Floyd

Jackson, Thomas Dancey, and Andrea Katie Rankin; (4) all reports made by Sergeant Scott L.

Woodard and all documents concerning the investigation of the Sunnyside Gang; and (5) all



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  McKinney also alleges that the Magistrate Judge erred by not deciding his “motion to expand the record.” No
motion on the docket has this title; instead, it appears that McKinney is referencing his request for an evidentiary
hearing in his motion to vacate under § 2255. Contrary to McKinney’s assertion, however, the Magistrate Judge did
address this request: “In the instant case, there is no material factual dispute that a hearing could address. . . . I
therefore suggest that McKinney is not entitled to an evidentiary hearing on the allegations raised in the motion.”
Rep. & Rec. 19.

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statements given by Michigan State Trooper Neal Bryant Sommers and A.T.F. agents Tom

Bowden and Paul Wade. Mot. Discovery at 2.

       A § 2255 petitioner, such as McKinney, is not permitted discovery as a matter of course

as in ordinary civil litigation. Bracy v. Gramley, 520 U.S. 899,904 (1997). Instead, “[a] party

may invoke the processes of discovery available under the Federal Rules of Criminal Procedure

or the Federal Rules of Civil Procedure or elsewhere in the usages and principles of law if, and to

the extent that, the judge in the exercise of his discretion and for good cause shown grants leave

to do so, but not otherwise.” R. 6(a) of the Rules Governing Section 2255 Proceedings for the

United States Districts. Good cause will be found where “specific allegations before the court

show reason to believe that the petitioner may, if the facts are fully developed, be able to

demonstrate that he is . . . entitled to relief . . . .” Bracy, 520 U.S. at 908-09 (quoting Harris, 394

U.S. at 300).

       Here, there is no good cause to allow discovery because McKinney’s motion to vacate is

barred by the statute of limitations. Alternatively, McKinney has not shown good cause to allow

discovery because the claims in his motion to vacate are meritless. Accordingly, his motion for

discovery will be denied.

                                                  V

       Before McKinney may appeal this Court’s dispositive decision, a certificate of

 appealability must issue. See 28 U.S.C. § 2253(c)(1)(a); Fed. R. App. P. 22(b). A certificate of

 appealability may issue “only if the applicant has made a substantial showing of the denial of a

 constitutional right.” 28 U.S.C. § 2253(c)(2). When a court rejects a habeas claim on the

 merits, the substantial showing threshold is met if the petitioner demonstrates that reasonable

 jurists would find the district court’s assessment of the constitutional claim debatable or wrong.



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 See Slack v. McDaniel, 529 U.S. 473, 484-85 (2000). “A petitioner satisfies this standard by

 demonstrating that . . . jurists could conclude the issues presented are adequate to deserve

 encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003). In

 applying that standard, a district court may not conduct a full merits review, but must limit its

 examination to a threshold inquiry into the underlying merit of the petitioner’s claims. Id. at

 336-37. “The district court must issue or deny a certificate of appealability when it enters a

 final order adverse to the applicant.” Rules Governing § 2254 Cases, Rule 11(a), 28 U.S.C. foll.

 § 2254.

          Having considered the matter, the Court concludes that McKinney has not made a

 substantial showing of the denial of a constitutional right.      Accordingly, a certificate of

 appealability is not warranted in this case. Furthermore, McKinney should not be granted leave

 to proceed in forma pauperis on appeal, as any appeal would be frivolous. See Fed. R. App. P.

 24(a).

                                                VI

          Accordingly, it is ORDERED that McKinney’s Objections (ECF No. 137) are

OVERRULED.

          It is further ORDERED that the Magistrate Judge’s Report and Recommendation (ECF

No. 132) is ADOPTED.

          It is further ORDERED that McKinney’s Motion to Vacate (ECF No. 109) is DENIED.

          It is further ORDERED that a certificate of appealability is DENIED.

          It is further ORDERED that permission to proceed in forma pauperis on appeal is

DENIED.




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      It is further ORDERED that McKinney’s Motion for Discovery (ECF No. 115) is

DENIED.

      It is further ORDERED that McKinney’s Motion Pursuant to Rule 15(c)(2) (ECF No.

138) is DENIED.

                                                                s/Thomas L. Ludington
                                                                THOMAS L. LUDINGTON
                                                                United States District Judge
Dated: October 28, 2014


                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney of record herein by electronic and on John Tyler
                      McKinney, Jr. #41867039, Elkton Federal Correctional Institution
                      (FSL), Inmate Mail/Parcels, P.O. Box 10, Lisbon, OH 44432 by first
                      class U.S. mail on October 28, 2014.

                                                       s/Tracy A. Jacobs
                                                       TRACY A. JACOBS




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